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 9
                          IN THE UNITED STATES DISTRICT COURT
10
                      FOR THE SOUTHERN DISTRICT OF CALIFORNIA
11
     UNITED STATES OF AMERICA ex rel.                Case No.: 16CV2909-JAH (BLM)
12   KEVIN G. DOUGHERTY,                             JOINT PROPOSED BRIEFING
                  Plaintiff,                         SCHEDULE
13
             v.                                      Date:
14                                                   Time:
     GUILD MORTGAGE COMPANY,                         Courtroom: 13B
15                Defendant.                         Judge: Hon. John A. Houston

16
           On September 4, 2018, this Court issued an Order Requesting Submission of a
17
     Proposed Briefing Schedule (“Order”), in light of the Ninth Circuit’s opinion in United
18
     States v. Stephens Inst., No. 17-15111, 2018 WL 4038194 (9th Cir. Aug. 24, 2018). See
19
     Dkt. 95. Pursuant to the Order, Plaintiff the United States of America (“United States”),
20
     Relator Kevin Dougherty (“Relator”), and Defendant Guild Mortgage Company (“Guild”),
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                                               -2-
22                                                                    16-cv-2909 JAH(BLM)
 1   by and through their undersigned counsel, respectfully submit the proposed briefing

 2   schedule below, and state as follows:

 3         The United States is currently considering whether to seek leave to amend the

 4   Complaint-in-Intervention in light of the Rose opinion, and other recent precedents.

 5   Accordingly, the proposal below provides time for the United States to conclude whether it

 6   will seek amendment, and sets forth an additional proposed briefing schedule should the

 7   United States do so.

 8                            PROPOSED BRIEFING SCHEDULE

 9         1.     The United States shall have until October 1, 2018 to inform the parties and

10   the Court whether it will seek leave to amend the Complaint-in-Intervention (Dkt. 20). If

11   the United States concludes it will not seek amendment, the parties shall file supplemental

12   briefs on the Rose decision, and any other relevant decisions bearing on Guild’s Motion to

13   Dismiss, by October 16, 2018. Briefs will be no longer than five pages.

14         2.     If the United States concludes it will seek leave to amend, the parties will not

15   submit briefing on the Rose decision. Instead, the United States will file its motion to amend

16   the Complaint-in-Intervention no later than October 16, 2018. The motion will include a

17   copy of the proposed amended complaint. The United States will meet and confer with the

18   parties before filing the motion to amend.

19         3.     If Guild opposes the United States’ proposed amendment, Guild will file its

20   opposition by November 6, 2018. The United States will reply by November 20, 2018.

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22                                                                        16-cv-2909 JAH(BLM)
 1         4.     If Guild does not oppose the proposed amendment, it will file its response to

 2   the amended complaint by November 20, 2018. The United States’ opposition to any

 3   motion by Guild would be filed no later than December 21, 2018. Guild’s reply would be

 4   filed no later than January 18, 2019.

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22                                                                     16-cv-2909 JAH(BLM)
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22
 1                               CERTIFICATE OF SERVICE

 2         I certify that, on this 11th day of September, 2018, I caused one copy of the

 3   foregoing Joint Proposed Briefing Schedule to be served on all parties and counsel of

 4   record via the Court’s CM/ECF system.

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 6                                                             /s/ Jason W. McElroy
                                                               Jason W. McElroy
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